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MARCEREAU & NAZIF

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ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES

Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.
CONTINUANCE OF STATUS

CONFERENCE AND HEARING ON
SUMMARY JUDGMENT

Kelli Peters, Bill Peters and Sydnie Peters,

Plaintiffs,

VS.
Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.

Easter,
Defendants.

TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

to 10:30 a.m.
Dated: September 20, 2016 MARCEREAU & NAZIF
/s/ Robert H. Marcereau

Robert H. Marcereau
Attorneys for Plaintiffs

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PLEASE TAKE NOTICE that the Status Conference and Hearing on Summary Judgment
set for November 10, 2016, in Department 5A, have been rescheduled by the Court from 2:00 p.m.

THIRD AMENDED NOTICE OF CONTINUANCE OF STATUS CONFERENCE DATE AND
HEARING ON SUMMARY JUDGMENT

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Main Document Page 2 of 2

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): THIRD AMENDED NOTICE OF CONTINUANCE OF
STATUS CONFERENCE AND HEARING ON SUMMARY JUDGMENT will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and {b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
9/23/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

[] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 9/23/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M.A. Kosmala, P.O. Box 16279, Irvine, CA 92623,

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St., Suite 5040 / Ctrm 5A
Santa Ana, CA 92701-4593

[| Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served}: Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 9/23/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

L] Service information continued on attached pagl
declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

9/23/2016 Niccle Lipowski fs/ Nicole Lipowski
Date Printed Name Signature

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1,PROOF.SERVICE
